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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

 IN RE:                                                                   Case 25-01384-JD

 Jacqueline Elizabeth Ard                                         NOTICE OF HEARING ON
 Terry Frank Nicola                                                CHAPTER 13 TRUSTEE’S
                                                                 OBJECTION TO EXEMPTIONS

 Debtors.                                                  Chapter 13

       The Chapter 13 Trustee has filed papers with the court to object to the exemptions claimed by the
Debtors.

      Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

       If you do not want the court to [relief sought in motion or objection], or if you want the court to
consider your views on the objection, then within twenty one (21) days of service of this notice, you or
your attorney must:

       File with the court a written response, return, or objection at:
           1100 Laurel Street
           Columbia, SC 29201
       Responses, returns, or objections filed by an attorney must be electronically filed in
ecf.scb.uscourts.gov.

       If you mail your response, return, or objection to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above.

        The Trustee will be served with a response by electronic means, upon the filing of the pleading
with the Court.

        You must also attend the hearing scheduled to be heard on July 23, 2025 at 10:30 p.m. at the
United States Bankruptcy Court, 145 King Street, Room 225, Charleston, SC 29401.

         If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the objection and may enter an order granting that relief prior to the scheduled hearing
date, if determined to be appropriate.

                                                  /s/ James Wyman
                                                  James Wyman, Trustee Dist Ct ID 5552
                                                  Beth Renno, Staff Attorney Dist Ct ID 5627
                                                  Office of the Chapter 13 Trustee
                                                  P.O. Box 997
                                                  Mt. Pleasant, SC 29465-0997
                                                  Tel. (843) 388-9844
                                                  13office@charleston13.com
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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

  IN RE:                                                      Case 25-01384-JD

  Jacqueline Elizabeth Ard                              CHAPTER 13 TRUSTEE’S
  Terry Frank Nicola                                  OBJECTION TO EXEMPTIONS

                                     Debtors.                     Chapter 13

      The Chapter 13 Trustee hereby objects to the following exemptions claimed by the
Debtors:
      1.     Exemptions claimed under SC Code Ann §33-41-720(2)(c), because the code
             section is not an exemption statute, and because the code section applies to
             partnership property. Debtors do not list any interests in partnerships in the
             Schedules (in Schedule A/B #19 or 42), but do list interests in two LLCs.
      2.     Exemptions claimed pursuant to SC Code Ann §15-41-30(A)(1)(a), as the
             Debtors to not appear to have a principal residence. Debtors assert interests in 9
             parcels of real estate, and assert 6 of those interests as either ‘domicile’ or ‘second
             home.’
      3.     Exemptions claimed under SC Code Ann §15-41-30(a)(2)(3) and (4) as it appears
             that the majority of the assets claimed as exempt are not “held primarily for the
             personal, family, or household use of the debtor or a dependent of the debtor” and
             the total values exceed the allowed amount of those exemptions.
      4.     Exemptions claimed under SC Code Ann §15-41-30(a)(7) because it does not
             appear that the Debtors have unused exemptions under items (1) through (6) to
             which the “wildcard” exemption might apply.
      5.     Exemptions claimed under any SC Code section unless the Debtors testify under
             oath that they lived in South Carolina for the 180 days immediately preceding the
             730 day period immediately preceding the date of filing the petition, as the
             information disclosing their domicile(s) during this period is not disclosed on the
             Statement of Financial Affairs #2, and it appears that for the 730 days prior to
             filing, they resided out of state.
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       6.     Exemptions claimed under SC Code Ann §15-41-30(a)(14) and 11 U.S.C.
              §522(b)(3)(C), as the assets are not described as ERISA qualified, or exempt from
              taxation under any section of the Internal Revenue Code.


NOW, THEREFORE, upon good cause shown, Trustee asks that the exemptions be denied.


This day, June 4, 2025
                                           /s/ James Wyman
                                           James Wyman, Trustee Dist Ct ID 5552
                                           Beth Renno, Staff Attorney Dist Ct ID 5627
                                           Office of the Chapter 13 Trustee
                                           P.O. Box 997
                                           Mt. Pleasant, SC 29465-0997
                                           Tel. (843) 388-9844
                                           13office@charleston13.com
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  IN RE:                                                         Case 25-01384-JD

  Jacqueline Elizabeth Ard                                 CERTIFICATE OF SERVICE
  Terry Frank Nicola                                       OF CHAPTER 13 TRUSTEE’S
                                                          OBJECTION TO EXEMPTIONS
                                     Debtors.
                                                                     Chapter 13



I hereby certify that I have served the foregoing via U.S. Mail, postage attached, to the
following:

 Jacqueline Elizabeth Ard                          Terry Frank Nicola
 21215 Dartmouth Dr                                21215 Dartmouth Dr
 Southfield MI 48076                               Southfield MI 48076

Electronic service will be provided to the United States Trustee.

This day, June 4, 2025                               /s/ Beth Renno
                                                     Beth Renno
                                                     Office of the Chapter 13 Trustee
